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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

 DEON HAMPTON, #M-15934,                      )
                                              )
               Plaintiff,                     )
                                              )
        vs.                                   )      No. 17-860-MJR
                                              )
 CLINT MAYER, et al.,                         )
                                              )
               Defendants.                    )

 DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO COMPLETE
                              ESI

        NOW COME Defendants, JON MCKINSTRY, TREG VANDERHOVE, MAC SHANE

 FRANK, DUSTIN BOWLES, BRANDON JUSTICE, CHRISTOPHER THOMPSON, RYAN

 THOMPSON, JOHN WOLFE, CHAD ADAMS, JOHN BALDWIN, KEITH BENNETT,

 JOSEPH DUDEK, DONNA JONES, MICHAEL HELSLEY, DAVID HOMOYA, GREG

 JAMES, NICHOLAS KAYS, MATTHEW KENNEDY, WILLIAM LAWLESS, KALE

 LIVELY, LARUE LOVE, CLINT MAYER, JOHN MERCKS, NICHOLAS PESTKA, DALTON

 PORTER, NICHOLAS SERO, ELIJAH SPILER, CORD WILLIAMS and KAREN JAIMET, by

 and through their attorney, Lisa Madigan, Attorney General of the State of Illinois, and pursuant

 to Federal Rule of Civil Procedure 6(b), hereby submit their unopposed Motion for Extension of

 Time to Complete ESI, stating as follows:

         1.    On December 22, 2017, Plaintiff filed an Amended Complaint, pursuant to 42 U.S.C.

  §1983, with this Honorable Court. [d/e 24].

         2.    On October 9, 2018, the Court entered an Order regarding ESI protocol. [d/e 54

  and 55]. The Report Governing ESI provided that the ESI shall be provided within 90 days of

  the Court approving the parties’ ESI Report. [d/e 54, Pg. 3].


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         3.    The undersigned has been working diligently to provide the ESI within the time

  allowed. However, due to undersigned’s caseload and the complexity and procedures required

  in gathering, reviewing, and delivering the ESI, the Defendants need additional time to provide

  their ESI.

         4.    The Defendants’ now move for an extension of thirty (30) days, up to and including,

  February 11, 2019, in which to produce their ESI.

         5.    On January 7, 2019, undersigned spoke with counsel for Plaintiff about an

  extension of time to produce the Defendants’ ESI. Counsel for Plaintiff have not objected to

  such an extension.

         6.    No party will be prejudiced by this brief extension of time.

         7.    This motion is submitted in good faith and not for the purpose of undue delay.




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        WHEREFORE, for the above and foregoing reasons, Defendants respectfully request that the

 Court grant their motion and allow the Defendants an additional thirty (30) days, up to and including,

 February 11, 2019, in which to produce their ESI.


                                                Respectfully Submitted,

                                                JON MCKINSTRY, TREG VANDERHOVE,
                                                MAC SHANE FRANK, DUSTIN BOWLES,
                                                BRANDON JUSTICE, CHRISTOPHER
                                                THOMPSON, RYAN THOMPSON, JOHN
                                                WOLFE, CHAD ADAMS, JOHN BALDWIN,
                                                KEITH BENNETT, JOSEPH DUDEK, DONNA
                                                JONES, MICHAEL HELSLEY, DAVID
                                                HOMOYA, GREG JAMES, NICHOLAS KAYS,
                                                MATTHEW KENNEDY, WILLIAM LAWLESS,
                                                KALE LIVELY, LARUE LOVE, CLINT MAYER,
                                                JOHN MERCKS, NICHOLAS PESTKA,
                                                DALTON PORTER, NICHOLAS SERO, ELIJAH
                                                SPILER, CORD WILLIAMS and KAREN
                                                JAIMET,

                                                        Defendants,

 R. Levi Carwile, #6317375                      LISA MADIGAN, Attorney General
 Assistant Attorney General                     State of Illinois
 500 South Second Street
 Springfield, IL 62701                                  Attorney for Defendants,
 (217) 557-0261 Phone
 (217) 524-5091 Fax                             By: s/ R. Levi Carwile
 Email: rcarwile@atg.state.il.us                       R. Levi Carwile
                                                       Assistant Attorney General




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS
                               EAST ST. LOUIS DIVISION

 DEON HAMPTON, #M-15934,                      )
                                              )
                Plaintiff,                    )
                                              )
        vs.                                   )      No. 17-860-MJR
                                              )
 CLINT MAYER, et al.,                         )
                                              )
                Defendants.                   )

                                 CERTIFICATE OF SERVICE

         I hereby certify that on January 11, 2019, the foregoing document, Defendants’ unopposed
 Motion for Extension of Time to Complete ESI, was electronically filed with the Clerk of the Court
 using the CM/ECF system which will send notification of such filing to the following:

                Sheila A. Bedi                Sheila.bedi@law.northwestern.edu
                Vanessa del Valle             Vanessa.delvalle@law.northwestern.edu
                Alan S. Mills                 alan@uplcchicago.org
                Elizabeth Mazur               liz@uplcchicago.org

 and I hereby certify that on the same date, a copy of the foregoing document was mailed by United
 States Postal Service, to the following non-registered participant:

                                              None

                                                     Respectfully submitted,

                                                     s/ R. Levi Carwile
                                                     R. Levi Carwile, #6317375
                                                     Assistant Attorney General
                                                     General Law Bureau
                                                     Office of the Attorney General
                                                     500 South Second Street
                                                     Springfield, IL 62701
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